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   AO 399 (01/09) Waiver o f the Service of Summons



                                         U nited States D istrict C ourt
                                                                           for the
                                                          Western District of Washington

                       SHARON L, ELLIOTT                                         )
                                 Plainilff                                       )
                                    V.                                           )   Civil Action No.         19-CV -00563
                   BNSF RAILWAY COMPANY                                          )
                                Defendant                                        )

                                                WAIVER OF THE SERVICE OF SUMMONS

  To;     Luke T. Pepper, Esquire
                (Name o f the plaintiff’s attorney or unrepresented plain tiff

         I have received your request to waive service of a summons in this action along with a copy of the complaint,
  two copies o f this waiver form, and a prepaid means of returning one signed copy o f the form to you.

            I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

           I understand (hat I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
  jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

          I also understand (hat 1, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
  60 days from ________04/25/2019                     the date when this request was sent (or 90 days if it was sent outside the
  United States). If I fail to do so, a default judgment will be entered against m em the entity I represent.

  Date:
                                                                                                   atiire o f the attorney or unrepresented party


          Printed name o/parfy waiving service o f s m ^ w n s                                                   Printed name




                                                                                             ( I r i ' f <"         Address       S '   t O ^

                                                                                      /V .             ^                  >1            ' C-j)
                                                                                                                 £-mail address

                                                                                       To3 - f i r
                                                                                                               Telephone number
                                             Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or o f service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
